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             EXHIBIT 1




                                                           Exhibit 1 - 001
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                                                                          13 00 Pennsylvania Avenue NW
                                                                          Washington, DC 20229


HQBOR 170/6
                                                                          U.S. Customs and
                                                                          Border Protection
MAR 1 9 2021

MEMORANDUM FOR:                Troy A. Miller
                               Senior Official Performing the Duties of the Commissioner
                               U.S. Customs an B ·

FROM:                          Rodney S. Seo
                               Chief


SUBJECT:                       Prosecutorial Discretion

The U.S. Border Patrol (USBP) is experiencing a high-volume of encounters of persons illegally
entering the United States along the southwest border. Due the prolonged detention of specific
populations, like unaccompanied alien children (UAC), the USBP will exercise its discretionary
authority to release subjects without placing them in removal proceedings, to prioritize our
limited assets to national security events. Pursuant to 8 C.F.R. § 287.3, agents retain discretion
to place a removable alien in proceedings. We will exercise prosecutorial discretion (PD) to
release persons illegally in the U.S when at least one of the following triggers are met:

    •    When a USBP Sector reaches 100% of total permanent detention capacity;
    •    When a USBP Sector reaches 75% total permanent detention capacity and the number of
         subjects arriving in custody exceeds the discharge of persons out of custody;
    •    When the average time-in-custody (TIC) of unprocessed persons exceeds 24 hours in
         USBP custody and the number of subjects arriving in custody is projected to exceed the
         discharge of persons out of custody;
    •    When mandatory detention populations (e.g., UACs) meet 50% of total permanent
         detention capacity and placement into Health and Human Service / Office or Refugee
         Resettlement (HHS/ORR) exceeds 48 hours from the time of refenal ;
    •    When a USBP Sector notifies Immigration and Customs Enforcement Removal
         Operations (ICE/ERO) and referral was denied or when no response is received within 1
         hours of notification;
    •    When the Joss of T itle 42 authorities is nationwide and any previous trigger is met; or
    •    When a Sector Chief Patrol Agent, in cuordimtliun with USBP HQ, determines the
         circumstances dictate the need to exercise prosecutorial discretion.

Agents already retain the discretion to not place a removable alien into proceedings. As a
general rule, agents do not exercise this option. Due to the challenges set on by COVID-19,
UAC encounters, custody challenges and finite resources, agents must consider the release of
non-UACs. Agents will consider whether the subject poses a tlu·eat to National Security, Border
Security, or heightened Public Safety risk, as outl ined in the interim enforcement priorities, prior
to making this decision. Custody decisions will be documented in the 1-213 mmative. Under no



                                                                                    Exhibit 1 - 002
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circumstances will an alien who claims to be, is suspected to be, or is determined to be a UAC as
defined by 6 U.S.C. § 279(g)(2), be processed for release.

Processing an alien for release without entering them into proceedings is not taken lightly. Only
under circumstances outlined above will agents categorically use their discretionary authority to
release family units or single adults. All subjects processed for release will be searched and
enrolled into the biometric system. Records checks will be run to insure no prior criminal or
immigration history that would categorize them as a heightened security or safety risk prior to
release. Subjects will have their biographic, family, entry, arrest, and release information
documented on a narrative (I-213). The custody redetermination for subjects released will fall
under "Prosecutorial Discretion" and any current removal proceedings in which the subject is
enrolled in will be documented.

Once PD is exercised, persons will be released in accordance with local Sector protocols to the
fullest extent possible.




                                                                                  Exhibit 1 - 003
